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VOYAGER 22-10943

To the Honorable Judge Michael Wiles:

Dear Sir,

Today, Voyager Digital release the following statement (see below) about users who
hold USD on their exchange app. I don’t understand why they are being allowed to
keep this money from users if the money is kept in a separate account at MC Bank.
Can you please order them to release our funds? If the bank really must go through a
reconciliation process and fraud prevention phase like they state, at what point will our
US Dollars be released? This is absolutely crushing me.

Kind regards,

Christopher Rouse
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